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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN

GENERAL MOTORS LLC, and                          :
GM GLOBAL TECHNOLOGY                             :
OPERATIONS LLC,                                  :    Case No. 2:15-cv-12917-VAR-EAS
                                                 :    Hon. Victoria A. Roberts
                      Plaintiffs,                :
                                                 :
           v.
                                                 :
DORMAN PRODUCTS, INC. and                        :
ELECTRONICS                                      :
REMANUFACTURING COMPANY,                         :
LLC,                                             :
                                                 :
                      Defendants.                :

        DEFENDANTS DORMAN PRODUCTS, INC. AND
     ELECTRONICS REMANUFACTURING COMPANY, LLC’S
 ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT WITH
       AFFIRMATIVE DEFENSES AND COUNTERCLAIM
      Defendants       Dorman        Products,       Inc.   (“Dorman”)   and    Electronics

Remanufacturing Company, LLC (“ERC”) (hereinafter “Dorman/ERC”), by and

through counsel, Blank Rome LLP, hereby file their Answer to Plaintiffs General

Motors LLC and GM Global Technology Operations LLC’s (collectively, “GM”)

Second Amended Complaint with Affirmative Defenses and Counterclaim as

follows:

                                         ANSWER
      1.        Denied as stated. The allegations in this paragraph refer to the Second

Amended Complaint, which is a writing that speaks for itself, and all

characterizations thereof are denied.
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      2.     Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

      3.     Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

      4.     Admitted.

      5.     Admitted.

      6.     Denied as a legal conclusion to which no response is required.

      7.     Denied as a legal conclusion to which no response is required.

      8.     Denied as a legal conclusion to which no response is required.

      9.     Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      10.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      11.    Admitted.

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      12.    Admitted in part; denied in part. It is admitted only that Dorman “has

done and/or does business with ERC in this district.” The remaining allegations are

denied as either incorrect or disputed factual allegations, for which strict proof is

demanded at trial, or conclusions of law, to which no response is required.

      13.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      14.    Admitted in part; denied in part. It is admitted only that Dorman

offers for sale a product that includes a “Software Transfer Tool.” The remaining

allegations are denied as incorrect or disputed factual allegations, for which strict

proof is demanded at trial.

      15.    Denied. The allegations in this paragraph are denied as either

incorrect or disputed factual allegations, for which strict proof is demanded at trial,

or conclusions of law, to which no response is required.

      16.    Admitted in part; denied in part. It is admitted only that Dorman

offers the “Software Transfer Tool” for sale to its customers. The remaining

allegations are denied as incorrect or disputed factual allegations, for which strict

proof is demanded at trial. To the extent the allegations in this paragraph refer to a

writing, it speaks for itself, and all characterizations thereof are denied.

      17.    Denied as a legal conclusion to which no response is required. To the

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extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      18.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      19.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

      20.    Admitted upon information and belief.

      21.    Admitted in part; denied in part. It is admitted only that the

Transmission Electro-Hydraulic Control Module or TEHCM is an electronic

control module. The remaining allegations are denied. After reasonable

investigation, Dorman/ERC is without knowledge or information sufficient to form

a belief as to the truthfulness of the averments contained in this paragraph. Said

averments are therefore denied and strict proof thereof is demanded at time of trial.

      22.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

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      23.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

      24.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

      25.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

      26.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

      27.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

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      28.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      29.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      30.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

      31.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      32.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

      33.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

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      34.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

      35.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      36.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      37.    Admitted in part; denied in part. It is admitted that “Dorman operates

an internet web site www.dormanproducts.com.” The remaining allegations are

denied as either incorrect or disputed factual allegations, for which strict proof is

demanded at trial, or conclusions of law, to which no response is required.

      38.    Denied. The allegations in this paragraph references a writing that

speaks for itself, and all characterizations thereof are denied. By way of further

answer, the allegations are denied as incorrect or disputed factual allegations, for

which strict proof is demanded at trial.

      39.    Denied. The allegations in this paragraph references a writing that

speaks for itself, and all characterizations thereof are denied. By way of further

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answer, the allegations are denied as incorrect or disputed factual allegations, for

which strict proof is demanded at trial.

      40.    Denied. The allegations in this paragraph references a writing that

speaks for itself, and all characterizations thereof are denied. By way of further

answer, the allegations are denied as incorrect or disputed factual allegations, for

which strict proof is demanded at trial.

      41.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      42.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

      43.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

      44.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

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strict proof thereof is demanded at time of trial.

      45.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

      46.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

      47.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      48.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      49.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      50.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

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averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

          51.   Admitted in part; denied in part. It is admitted only that GM sent

Dorman a notification similar to that described; it is denied that the notification

was factually or legally correct.

          52.   Admitted in part; denied in part. It is admitted only that GM sent ERC

a notification similar to that described; it is denied that the notification was

factually or legally correct.

          53.   Admitted in part; denied in part. It is admitted only that Dorman first

offered for sale a product that includes a “Software Transfer Tool” in the summer

of 2016. The remaining allegations are denied as incorrect or disputed factual

allegations, for which strict proof is demanded at trial.

          54.   Admitted in part; denied in part. It is admitted only that Dorman’s

remanufactured TEHCMs and TCMs come with the “Software Transfer Tool.” The

remaining allegations are denied as characterizations of a writing that speaks for

itself.

          55.   Admitted in part; denied in part. It is admitted only that Dorman has

ceased, or substantially reduced, its sales of refurbished, preprogrammed

TEHCMs. The remaining allegations are denied as characterizations of a writing

that speaks for itself.

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      56.    Denied. GM’s lack of knowledge and speculation are denied as

improper pleadings lacking any foundation. To the extent a response is required,

the allegations are denied as incorrect or disputed factual allegations, for which

strict proof is demanded at trial.

      57.    Denied as stated. The allegations in this paragraph refer to a writing or

video, which speak for themselves, and all characterizations thereof are denied. To

the extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      58.    Denied as stated. The allegations in this paragraph refer to a writing,

which speaks for itself, and all characterizations thereof are denied. To the extent a

response is required, the allegations are denied as incorrect or disputed factual

allegations, for which strict proof is demanded at trial.

      59.    Denied as stated. The allegations in this paragraph refer to a writing,

which speaks for itself, and all characterizations thereof are denied. To the extent a

response is required, the allegations are denied as incorrect or disputed factual

allegations, for which strict proof is demanded at trial.

      60.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

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      61.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      62.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      63.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

      64.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

      65.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      66.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

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      67.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      68.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial. By way of further response, the

allegations in this paragraph refer to a writing, which speaks for itself, and all

characterizations thereof are denied.

                  COUNT I – COPYRIGHT INFRINGEMENT
      69.    Denied. No response is required to an incorporation paragraph. To the

extent a response is required, Dorman/ERC incorporates by reference its responses

in the preceding paragraphs as if set forth fully herein.

      70.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      71.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      72.    Denied as a legal conclusion to which no response is required. To the


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extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      73.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      74.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      75.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      76.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      77.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      78.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

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      79.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      80.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      81.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      82.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      83.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      WHEREFORE, Dorman Products, Inc. and Electronics Remanufacturing

Company, LLC request judgment in their favor and against General Motors LLC

and GM Global Technology Operations LLC together with attorneys’ fees, costs,

interest and any further relief deemed appropriate by this Court.

                 COUNT II – ILLEGAL CIRCUMVENTION
             OF SECURITY MEASURES UNDER 17 U.S.C. §1201
                                          15
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      84.    Denied. No response is required to an incorporation paragraph. To the

extent a response is required, Dorman/ERC incorporates by reference its responses

in the preceding paragraphs as if set forth fully herein.

      85.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

      86.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

      87.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

      88.    Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial.

      89.    Denied as conclusions of law to which no response is required. To the

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extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      90.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      91.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      92.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      93.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      94.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      95.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

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      WHEREFORE, Dorman Products, Inc. and Electronics Remanufacturing

Company, LLC request judgment in their favor and against General Motors LLC

and GM Global Technology Operations LLC together with attorneys’ fees, costs,

interest and any further relief deemed appropriate by this Court.

      COUNT III – TRAFFICKING IN ILLEGAL MEANS FOR
 CIRCUMVENTION OF SECURITY MEASURES UNDER 17 U.S.C. §1201
      96.    Denied. No response is required to an incorporation paragraph. To the

extent a response is required, Dorman/ERC incorporates by reference its responses

in the preceding paragraphs as if set forth fully herein.

      97.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      98.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      99.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      100. Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.
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      101. Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      102. Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      103. Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      104. Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      105. Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      106. Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      WHEREFORE, Dorman Products, Inc. and Electronics Remanufacturing

Company, LLC request judgment in their favor and against General Motors LLC

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and GM Global Technology Operations LLC together with attorneys’ fees, costs,

interest and any further relief deemed appropriate by this Court.

        COUNT IV – MISAPPROPRIATION OF TRADE SECRETS
       UNDER THE MICHIGAN UNIFORM TRADE SECRETS ACT
      107. Denied. No response is required to an incorporation paragraph. To the

extent a response is required, Dorman/ERC incorporates by reference its responses

in the preceding paragraphs as if set forth fully herein.

      108. Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial. To the extent the defined term

“trade secret” is meant in the legal sense of the word, this averment is denied as a

conclusion of law to which no response is required.

      109. Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial. To the extent the defined term

“trade secret” is meant in the legal sense of the word, this averment is denied as a

conclusion of law to which no response is required.

      110. Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the
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averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial. To the extent the defined term

“trade secret” is meant in the legal sense of the word, this averment is denied as a

conclusion of law to which no response is required.

      111. Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial. To the extent the defined term

“trade secret” is meant in the legal sense of the word, this averment is denied as a

conclusion of law to which no response is required.

      112. Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial. To the extent the defined term

“trade secret” is meant in the legal sense of the word, this averment is denied as a

conclusion of law to which no response is required.

      113. Denied. After reasonable investigation, Dorman/ERC is without

knowledge or information sufficient to form a belief as to the truthfulness of the

averments contained in this paragraph. Said averments are therefore denied and

strict proof thereof is demanded at time of trial. To the extent the defined term

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“trade secret” is meant in the legal sense of the word, this averment is denied as a

conclusion of law to which no response is required.

      114. Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      115. Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      116. Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      117. Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      118. Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      119. Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

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      120. Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      121. Denied as a legal conclusion to which no response is required. To the

extent a response is required, the allegations are denied as incorrect or disputed

factual allegations, for which strict proof is demanded at trial.

      WHEREFORE, Dorman Products, Inc. and Electronics Remanufacturing

Company, LLC request judgment in their favor and against General Motors LLC

and GM Global Technology Operations LLC together with attorneys’ fees, costs,

interest and any further relief deemed appropriate by this Court.

                           AFFIRMATIVE DEFENSES
      Dorman and ERC raise the following affirmative defenses to the allegations

in GM’s Second Amended Complaint:

      1.     GM’s Second Amended Complaint fails to state a claim upon which

relief can be granted.

      2.     One or more of the copyrights that GM alleges have been infringed

are invalid for failure to comply with the requirements for copyrightable subject

matter set forth in 17 U.S.C. § 102, including that no copyright protection is

afforded to “any idea, procedure, process, system, method of operation, concept,

principle, or discovery, regardless of the form in which it is described, explained,


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illustrated or embodied.”

      3.       GM’s claims for copyright infringement are barred in whole or in part

by the doctrine of copyright misuse.

      4.       GM’s claims for copyright infringement are barred in whole or in part

because one or more of the copyright registrations in the Second Amended

Complaint do not cover the vehicle control modules at issue in this case.

      5.       One or more of GM’s claims for statutory damages and attorneys’

fees under 17 U.S.C. § 504 is barred because at least one, if not all, of GM’s

copyright registrations and pending applications do not meet the requirements of

17 U.S.C. § 412.

      6.       GM’s claims are barred in whole or in part because one or more of its

registrations are invalid for including incomplete, inaccurate, false, or misleading

information.

      7.       Given the limited number of ways in which the works of authorship at

issue can be expressed, GM’s claims for copyright infringement are barred by the

doctrines of merger and scènes-á-faire.

      8.       Any reproduction, display, derivation, publication, or distribution of

any valid copyrighted work of GM by Dorman or ERC is a fair use allowed by 17

U.S.C. § 107.

      9.       Any reproduction, display, derivation, publication, or distribution of

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any valid copyrighted work of GM by Dorman or ERC is protected by 17 U.S.C. §

109.

       10.   Any reproduction, display, derivation, publication, or distribution of

any valid copyrighted work of GM by Dorman or ERC is protected by 17 U.S.C. §

117.

       11.   GM’s claims under the DMCA, including 17 U.S.C. § 1201, are

barred in whole or in part by 17 U.S.C. § 1201(c).

       12.   Dorman’s and ERC’s actions fall within the reverse engineering

exception of 17 U.S.C. § 1201(f).

       13.   GM’s claims under the DMCA, including 17 U.S.C. § 1201, are

barred because the DMCA was not intended to regulate electronic control modules

on automobiles or similar products and/or the regulation of such devices was

beyond the powers granted to Congress under the Copyright Act.

       14.   GM’s claims are barred in whole or in part by equitable principles,

including by the doctrines of laches, estoppel, unclean hands, waiver, and/or

acquiescence.

       15.   GM’s claims are barred in whole or in part because GM is in breach

of the Memorandum of Understanding and Right to Repair Agreement (R2R

Agreement) dated January 14, 2014 and/or the Massachusetts Motor Vehicle

Owners’ Right to Repair Act.

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      16.    GM’s claims are barred in whole or in part by GM’s failure to identify

any file, document, or other information constituting a trade secret or that is

otherwise entitled to legal protection, under the Michigan Uniform Trade Secrets

Act or otherwise.

      17.    GM’s claims are barred in whole or in part by GM’s failure to

establish or maintain procedures designed to prevent disclosure and/or

misappropriation of its alleged trade secrets, including by motor vehicle owners.

      WHEREFORE, Dorman Products, Inc. and Electronics Remanufacturing

Company, LLC request judgment in their favor and against General Motors LLC

and GM Global Technology Operations LLC together with attorneys’ fees, costs,

interest and any further relief deemed appropriate by this Court.

                               COUNTERCLAIM
      Defendants/Counterclaim Plaintiffs Dorman Products, Inc. (“Dorman”) and

Electronics Remanufacturing Company, LLC (“ERC”) bring this Counterclaim

against Plaintiffs/Counterclaim Defendants General Motors LLC and GM Global

Technology Operations LLC (collectively, “GM”) as follows:

                             NATURE OF ACTION
      1.     Dorman and ERC seek a declaratory judgment pursuant to the

Declaratory Judgment Act, 28 U.S.C. §2201, that GM’s use of its copyright

registrations (should they even be valid) to control the aftermarket in vehicle


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control modules and to force consumers to purchase a second copy of GM software

for repairs to their vehicles constitutes copyright misuse, and, therefore, GM’s

copyright registrations may not be enforced.

                                    PARTIES
      2.    Defendant/Counterclaim Plaintiff Dorman Products, Inc. is a

Delaware corporation with a principal place of business located at 3400 Walnut

Street, Colmar, Pennsylvania 18915.

      3.    Defendant/Counterclaim      Plaintiff   Electronics   Remanufacturing

Company, LLC is a Delaware limited liability company with a principal place of

business located at 2001 Dallavo Drive, Suite 101, Wallad Lake, Michigan 48390.

      4.    Plaintiff/Counterclaim Defendant General Motors LLC is a Delaware

liability company with a principal place of business located at 300 Renaissance

Center, Detroit, Michigan 48243.

      5.    Plaintiff/Counterclaim Defendant GM Global Technology Operations

LLC is a Delaware limited liability company with a principal place of business

located at 300 Renaissance Center, Detroit, Michigan 48243.

                                JURISDICTION
      6.    This Court has supplemental subject matter jurisdiction over this

declaratory judgment claim pursuant to 28 U.S.C. §1367(a) because this

counterclaim is so related to the federal claims set forth in GM’s Second Amended


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Complaint that they form part of the same case or controversy under Article III of

the United States Constitution and derive from a common nucleus of operative

facts.

                           FACTUAL BACKGROUND
         A.    The Parties and the Aftermarket.
         7.    GM is in the business of designing, manufacturing, marketing, and

distributing automobiles throughout the world.

         8.    Dorman and ERC are part of the independent automotive aftermarket

industry (the “aftermarket”), which employs more than four million people in the

United States and represents approximately 1.9 per cent of the U.S. gross domestic

product.

         9.    Dorman is a leading supplier of automotive and heavy duty truck

replacement parts, automotive hardware, brake parts, and fasteners.

         10.   For nearly one hundred years (since 1918), Dorman has been

manufacturing and selling parts for all major makes and models of motor vehicles,

including GM’s, and creates quality products that compete with replacement

products offered by original equipment manufacturers, like GM. Dorman’s

business, and the aftermarket generally, permit car owners to repair their vehicles

and obtain replacement parts at reduced cost without going back to the original

equipment manufacturer. Its competition in the motor vehicle industry is good for


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consumers and healthy for the U.S. economy.

       11.   It has long been part of American “do-it-yourself” culture that vehicle

owners repair, replace parts, enhance and tinker with their motor vehicles, either in

their own driveways or with their local, independent repair shops.

       12.   Dorman has long served this do-it-yourself culture and these

independent local businesses by selling new and remanufactured parts and

hardware to retailers, vehicle owners, and independent mechanics.

       13.   Lawmakers and the automotive industry in general have recognized

the historic importance of each vehicle owner’s ability to repair his or her own

vehicle, through “right to repair” laws.1

       14.   For decades, Dorman, ERC, and others in the aftermarket for parts

and services have co-existed alongside GM and other major manufacturers.

       15.   Until recently, that is, when GM began taking aggressive steps to use

software, and its alleged copyrights, to control all parts and services of its vehicles,

in order to eliminate the aftermarket, including Dorman, ERC, and many others.

       16.   GM takes this step out of greed, to maximize its own profits, and with

1
  In one example, in the most recent triennial rule-making under the DMCA, the
Librarian of Congress, on the recommendation of the Register of Copyrights,
expressly exempted certain repair and modification of the programs on vehicle
control modules from the DMCA’s anti-circumvention provisions, stating that
“owners of vehicles … are adversely impacted as a result of [technological
protection measures] that protect the copyrighted computer programs on the
[control modules] that control the functioning of their vehicles.”
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the goal of eliminating its competitors and a vibrant segment of the American

economy.

      B.     The History of Control Modules.
      17.    When GM and others started manufacturing vehicles in the early

twentieth century, the vehicles were comprised of hardware components—and did

not contain software.

      18.    As technologies progressed, manufacturers started incorporating

software into vehicles and vehicle parts. One early example was the engine control

module, which included software that operated the module, and, consequently, the

vehicle.

      19.    Over the years, manufacturers dramatically expanded the use of

software in vehicles. Most new vehicles today contain approximately 70 or more

control modules incorporating software—ranging from those that control the

engine to those that control power windows.

      20.    Each control module in a vehicle consists of both hardware and

software—both of which are necessary in order for today’s vehicles to function

properly.

      21.    Differentiating between the hardware and software on a vehicle is

generally immaterial to a driver when it comes to day-to-day driving—until the

vehicle requires repair or servicing.


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      22.   Historically, when a GM vehicle needed to be serviced or repaired,

vehicle owners have been able to choose from a number of options, including

taking the vehicle to a GM dealership to be serviced, taking the vehicle to an

independent mechanic to be serviced, or fixing the vehicle themselves.

      23.   However, GM has intentionally foreclosed certain options that had

previously been available to today’s vehicle owners—all in an effort to control

what Dorman, ERC, and others are able to develop and supply in terms of new and

remanufactured replacement parts for GM vehicles. GM has interfered with these

innovative efforts through the restrictions GM has placed on access to vehicle

owners’ copies of their software, GM’s licensing practices with respect to its

software, and aggressive “copyright enforcement” litigation, like this case,

designed to eliminate its aftermarket competitors.

      C.    GM’s Attempted Restrictions on Vehicle Owners.
      24.   When a consumer purchases a GM vehicle from a GM dealership, the

consumer purchases the entire vehicle, including all of its hardware and the copies

of the software installed on the vehicle’s control modules. Upon information and

belief, there are no licensing agreements between GM and the vehicle purchaser.

      25.   Despite the fact that vehicle owners own the copies of the software

installed on their vehicles, GM has purportedly utilized technological protection

measures to completely prohibit a vehicle owner from being able to access that


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copy of the software (as alleged in Count II of the Second Amended Complaint).

These technological protection measures interfere with vehicle owners’ property

rights—including their rights to sell, display, and otherwise dispose of the copies

of the software that they own, as they are permitted to do under the first sale

doctrine provided for in Section 109 of the Copyright Act.

      26.    Because GM restricts access to the copies of software installed on its

vehicles, owners of GM vehicles are unable to service those vehicles themselves

and are forced to purchase a new, additional copy of the software, either directly or

indirectly, from GM.

      27.    According to GM’s allegations, no individuals are permitted to access

the software on any control module—even by a vehicle’s owner—under the

DMCA. This means that owners of GM vehicles are at risk of being sued by GM

for merely accessing the copies of the software that they purchased from GM.

      28.    This is a dramatic change from a prior GM practice that permitted

vehicle owners to freely transfer their copies of the software from a broken control

module to a replacement module, via the portable Programmable Read Only

Memory (PROM) on that control module.

      29.    In sum, GM has made it impossible for a vehicle owner to transfer the

copy of the software that she already owns to a replacement control module.

      30.    Dorman, ERC, and others have attempted to innovate new

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technologies (including developing software transfer tools) that allow vehicle

owners to enjoy their rights to the copies of the software that they own, as

permitted under Section 109 of the Copyright Act. GM has stifled such innovations

in order to force a vehicle owner to turn only to a GM dealership or GM-licensed

mechanic to repair or service the vehicle.

      D.     GM’s Attempted Restrictions on the Aftermarket.
      31.    Without the ability to access the software on any control module, a

vehicle owner must purchase a new copy of the software in order to repair the

vehicle. In order to obtain a new copy of the software, the vehicle owner must go

to a GM dealership or to an authorized GM mechanic (who pays licensing fees to

GM). A vehicle owner cannot go to a mechanic fully independent from GM. In

effect, if all sales and transfers of GM’s software, including those permitted under

Section 109 of the Copyright Act, require GM’s prior authorization, then all

repairs to a control module require the consumer to purchase a new and

redundant copy of the software from GM.

      32.    GM has designed its software licensing program for mechanics so that

it is prohibitively expensive for independent mechanics to participate. First, simply

repairing a control module requires a mechanic to make a substantial technological

investment, including the purchase of a particular GM-approved programming tool

and a specialized computer that meets GM’s required specifications, as well as


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training and instruction in GM’s software and programming requirements. Second,

the mechanic has no other choice but enter into a licensing agreement with GM

and pay exorbitant licensing fees to GM merely to access GM’s software—which

(again) vehicle owners already own—and pass on this additional (and unnecessary)

licensing cost to its customers. This has the intended effect of restricting access to

GM software to only those mechanics that service a high volume of GM vehicles.

Others that cannot afford the same access cannot effectively compete in the

aftermarket.

      33.      Pricing, however, is not the only anti-competitive element of GM’s

licensing model. The terms of GM’s licensing agreements require that all services

be performed on a vehicle at the mechanic’s service facility (with limited

exceptions for mobile mechanics) and that GM’s software not be used to program

control modules on behalf of third-party service facilities.

      34.      By requiring all services to be performed by only the licensed

mechanic, GM has precluded third parties from being able to supply hardware or

software services to those mechanics. That is, GM explicitly prohibits mechanics

from working with third party vendors (like Dorman or ERC), including third party

vendors who could otherwise achieve the volumes required to make GM’s annual

licensing fees economically viable. Indeed, GM has refused to make any licensing

terms available to Dorman or ERC.

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      35.    Further, by requiring that all services be performed on-vehicle,

vehicle owners must purchase their software-based services from the same

mechanics who perform their hardware-based services. Vehicles, after all, do not

properly function when new hardware is installed without the associated software,

so (under GM’s licensing terms and without access to third party GM-licensed

programmers) a vehicle owner cannot have the hardware repaired by one mechanic

and the software installed by another. The result is as GM intended: GM has tied

purchases of hardware for control modules to purchases of software for control

modules, which (in light of the licensing model described above) means that

vehicle owners must satisfy their hardware-based and software-based needs at GM

dealerships or GM-licensed mechanics, even though they already own copies of

the relevant software.

      E.     Impact of GM’s Copyright Misuse.
      36.    GM’s attempts to enforce its copyrights are intended to increase GM’s

share of the aftermarket in hardware and software for GM vehicles. By restricting

vehicle owners’ access to their own copies of software installed on their GM

vehicles, through litigation and purported technological protection measures,

owners of GM vehicles cannot repair their vehicles without going to either a GM

dealership or a GM-licensed mechanic.

      37.    Further, through restrictive license agreements with unreasonable and


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onerous terms (and litigation like this), GM has prevented the aftermarket from

being able to innovate new technologies that allow vehicle owners to enjoy their

rights to the copies of the software that they own and, ultimately, stifled

competition in the aftermarket for control modules for GM vehicles.

      38.    Vehicle owners are forced to purchase new—and, therefore,

redundant—copies of that software when the control modules in their vehicles

break; otherwise, they are at risk of being sued by GM for violating the DMCA.

      39.    And because GM licensing terms mandate that hardware-based

services and software-based services be performed together, at the same time by

the licensed mechanic, GM effectively has controlled the aftermarket for hardware

as well as software, all through its misuse of copyrights.

                 COUNT ONE: DECLARATORY JUDGMENT
                         COPYRIGHT MISUSE
      40.    Dorman and ERC incorporate by reference the preceding paragraphs

of this Counterclaim as if stated in full herein.

      41.    GM’s conduct is an attempt to illegally extend the monopoly granted

to it by the Copyright Office and constitutes copyright misuse.

      42.    In addition, GM has violated the public policies underlying the

copyright laws by attempting to control the sales of aftermarket parts through its

copyright registrations—which also constitutes copyright misuse.

      43.    GM has sought to decrease competition in the market of replacement
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control modules by attempting to leverage its copyright registrations to control this

area of the aftermarket, which is outside its limited monopoly granted by

copyright.

      44.    The parties have a real, substantial, justiciable controversy for which a

declaration will be useful in clarifying and settling the dispute relating to the legal

relations between the parties—namely the scope of GM’s copyright registrations,

to the extent they are valid and enforceable.

      45.     Accordingly, a declaratory judgment is appropriate here, under the

Declaratory Judgment Act, 28 U.S.C. §2201, that GM’s use of its copyright

registrations (should they even be valid) to control the aftermarket in vehicle

control modules and to force consumers to purchase a second copy of GM software

for repairs to their vehicles constitutes copyright misuse, and, therefore, GM’s

copyright registrations may not be enforced.

      46.    The dispute between the parties is definite and concrete, and a

declaratory judgment will terminate and afford relief from the uncertainty,

insecurity, and controversy between the parties.

      WHEREFORE, Dorman Products, Inc. and Electronics Remanufacturing

Company, LLC requests judgment in their favor and against General Motors LLC

and GM Global Technology Operations LLC and hereby requests that this Court

enter an Order: (a) declaring that GM’s efforts to enforce copyright registrations in

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any purported software for control modules in order to stifle innovation and restrict

the sale and marketing of aftermarket parts and tools constitutes copyright misuse

and enjoining GM from any further such efforts; (b) for Dorman and ERC’s

attorneys’ fees and costs; and (c) for all such other relief as the Court may deem

just and proper.

Dated: March 22, 2017            Respectfully submitted,

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                          CERTIFICATE OF SERVICE
      I hereby certify that on March 22, 2017, I electronically filed the foregoing

with the Clerk of the Court using the ECF system, which will send notification of

such filing to counsel of record, as follows:

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